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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,



                                     Plaintiff,

                                                                    DECISION AND ORDER

                                                                    04-CR-6143L

                      v.

EDGARDO MEDERO,



                              Defendant.
________________________________________________


       Defendant’s motion (Dkt. #297) to modify the conditions of release for the defendant is

granted. The requirement that defendant post property at 249 Parkway, Rochester, New York is

vacated and any lien filed against the property should be discharged.

       IT IS SO ORDERED.



                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge


Dated: Rochester, New York
       November 9, 2007.
